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 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
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     ROSEVILLE FULLERTON BURTON                CASE NO. 8:14-cv-1954-JLS-JCGx
12
     HOLDINGS, LLC
13                                             ORDER GRANTING DEFENDANTS’
14              Plaintiff,                     MOTIONS FOR SUMMARY
                                               JUDGMENT (Docs. 159, 161, 162)
15        vs.
16
17 SOCAL WHEELS, INC.; MICHAEL
     YABLONKA; CHRISTOPHE GRANGER;
18 ROBERT CULLEN; JASON SIU; and
19 DONNY MAK
20
                Defendants.
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 1      I.         INTRODUCTION
 2            Before the Court are Motions for Summary Judgment by Defendants SoCal Wheels,
 3 Inc., Christophe Granger, Michael Yablonka, Donny Mak, and Jason Siu. (SoCal Mot.,
 4 Doc. 159; Granger & Yablonka Mot., Doc. 161; Mak & Siu Mot., Doc. 162.) Plaintiff
 5 Roseville Fullerton Burton Holdings, LLC opposes the Motions and Defendants replied.
 6 (SoCal Opp., Doc. 177; Granger & Yablonka Opp., Doc. 175; Mak & Siu Opp., Doc. 176;
 7 SoCal Reply, Doc. 182; Granger & Yablonka Reply, Doc. 183.) Having taken the matter
 8 under submission and considered the parties’ briefs, the Court GRANTS Defendants’
 9 Motions.
10
11      II.        BACKGROUND
12            A.        Wheel Warehouse and SoCal Wheels
13                 1.     Origin and Growth of “Wheel Warehouse”
14            Robert Cullen began selling wheels and tires in Anaheim, CA under the name
15 “Wheel Warehouse” in 1979. (SGI ¶¶ 3, 9–12, 55, 57, Doc. 177-1.) Over time, Wheel
16 Warehouse became well-known as a pioneer in the automotive aftermarket industry. (Id. ¶
17 41.) The company was written about and mentioned in print media and industry
18 publications, and wheel and tire retailers and manufacturers travelled to Anaheim to “see
19 how it is done.” (Id. ¶¶ 28–29, 41, 44.) In the course of its business, Wheel Warehouse
20 advertised on TV, radio, and print media, including newspapers and magazines. (Id. ¶ 18.)
21 In addition, the company advertised in directories, through direct mail and flyers, by
22 distributing catalogs, by sponsoring a motorsports team, and by participating in automotive
23 events. (Id. ¶¶ 22–25, 27.)
24            On February 20, 1996, Wheel Warehouse registered the domain name,
25 www.wheelwarehouse.com. (Id. ¶ 13.) Wheel Warehouse then created a website at
26 www.wheelwarehouse.com where buyers could browse Wheel Warehouse’s inventory and
27 call in their orders to the store. (Id. ¶ 14.) Upon calling in, trained salesmen would
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 1 confirm the size and fitment necessary for the use of particular wheels and tires for a
 2 particular vehicle. (Id.) Customers could purchase from Wheel Warehouse in the
 3 following ways: by calling Wheel Warehouse; by making a product selection on its
 4 website which would be followed by a telephone conference with a salesman; by sending
 5 an e-mail inquiry; or by walking into the store. (Id. ¶ 71.)
 6         By the 1990s, Wheel Warehouse had a 25,000 square foot facility and 43
 7 employees. (Id. ¶ 47.) From at least 1995 until 2015, Wheel Warehouse sold wheels and
 8 tires to customers in Orange County, to customers from other parts of California, and to
 9 out-of-state customers. (Id. ¶ 70.) From 1995 to 2003, Wheel Warehouse averaged
10 approximately $10 million per year in sales. (Id. ¶ 72.)
11            2.     Purchase of “Wheel Warehouse”
12         SoCal Wheels, Inc. was formed on November 3, 2005. (Id. ¶ 48.) Christophe
13 Granger has been the President of SoCal Wheels since its formation and was previously a
14 manager at Wheel Warehouse. (Id. ¶¶ 49–50.) Michael Yablonka is the Vice President
15 and General Manager of SoCal Wheels. (Id. ¶ 363.) In early 2011, SoCal Wheels
16 purchased Wheel Warehouse’s assets, including Wheel Warehouse’s equipment,
17 inventory, and website. (Id. ¶¶ 51–53.) Afterwards, SoCal Wheels continued advertising
18 and using the Wheel Warehouse brand and website, and continued selling wheels and tires
19 as Wheel Warehouse at the same location Wheel Warehouse had occupied since its
20 founding. (Id. ¶¶ 56–57, 59–61, 64–65.)
21         Following the purchase of Wheel Warehouse, SoCal Wheels took steps to expand
22 its online presence. In 2011, Wheel Warehouse registered the domain name,
23 www.wheelwarehouseonline.com. (Id. ¶ 16.) SoCal Wheels retained Donny Mak and
24 Jason Siu to create and maintain www.socalwheels.com and to update and maintain
25 www.wheelwarehouse.com. (Mak & Siu SGI ¶¶ 1–2, Doc. 176-1.) Although Mak and
26 Siu never had any discussions about Discounted Wheel Warehouse, (id. ¶ 4), SoCal
27 Wheels had discussions with Siu regarding putting some effort into increasing
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 1 www.wheelwarehouse.com’s search rankings, (SGI ¶ 254.) SoCal Wheels also decided to
 2 create microsites to increase the number of hits to its Wheel Warehouse websites and to
 3 bring in additional business. (Id. ¶ 234.) The domain names of the microsites each had the
 4 identical naming format: www.discount[ManufacturerBrand]wheels.com. (Id. ¶ 235.)
 5
 6          B.        Discounted Wheel Warehouse and Roseville
 7               1.     Origins and Growth of “Discounted Wheel Warehouse”
 8          On October 14, 2002, Quality Auto Care Centers, Inc. registered the domain name,
 9 www.discountedwheelwarehouse.com. (SGI ¶ 86.) The name “Discounted Wheel
10 Warehouse” was first used by Quality Auto Care in 2003. (Id. ¶ 83.) At the time the name
11 was first used, Quality Auto Care was located in Roseville, CA. (Id. ¶ 84.) Quality Auto
12 Care then moved to Sacramento, CA, (id. ¶ 85), and at some point in 2004, operations for
13 Discounted Wheel Warehouse moved to Cerritos, CA, (id. ¶ 262.) Quality Auto Care
14 dissolved on December 2, 2004. (Id. ¶ 87.) Upon its dissolution, Quality Auto Care
15 transferred its business assets and www.discountedwheelwarehouse.com to USA Wheel
16 and Tire Outlet #2, Inc., a business owned and managed by Naeem Niamat and Dean
17 Riley. (Id. ¶¶ 88–90, 123–25.) Although originally located in Cerritos, USA Wheel and
18 Tire Outlet #2 moved to Fullerton, CA in early 2007. (Id. ¶¶ 99, 258.) Niamat came to
19 know about Wheel Warehouse at least as early as 2007 when this move occurred. (Id. ¶¶
20 258–59.)
21          After the transfer of assets from Quality Auto Care, USA Wheel and Tire Outlet #2
22 engaged in the sale of wheels and tires using the name “Discounted Wheel Warehouse”
23 and the website, www.discountedwheelwarehouse.com. (Id. ¶¶ 91, 106.) USA Wheel and
24 Tire Outlet #2 did not sponsor, participate in, or advertise or display its products at
25 industry events. (Id. ¶¶ 108–10.) Rather, the company advertised mostly on the Internet.
26 (Id. ¶ 117.) Part of USA Wheel and Tire Outlet #2’s online marketing efforts included
27 attempting to “rank” higher on search engines like Google.com. (Id. ¶ 118.) By 2006,
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 1 when it submitted its application for trademark registration, www.discountedwheel
 2 warehouse.com was the first rank result when people searched for “Discounted Wheel
 3 Warehouse,” and the website has always ranked first since. (Id. ¶¶ 128–29.)
 4             2.     Trademark Registration
 5         USA Wheel and Tire Outlet #2 applied to the United States Patent and Trademark
 6 Office (“USPTO”) to register the trademark “Discounted Wheel Warehouse” on July 17,
 7 2006. (Id. ¶ 130.) In conjunction with its application, USA Wheel and Tire Outlet #2’s
 8 legal counsel declared that to the best of its knowledge and belief, no other entity had the
 9 right to use the mark in commerce. (Id. ¶ 131.) The USPTO denied registration by non-
10 final action on three different occasions: December 18, 2006; June 11, 2007; and January
11 7, 2008. (Id. ¶ 132.) The USPTO initially refused to register the mark because it was
12 merely descriptive and did not sufficiently identify the nature of the applicant’s services.
13 (Id. ¶ 133.) In response, USA Wheel and Tire Outlet #2 explained that the mark had
14 gained secondary meaning due to its advertising and sales and amended the recitation of
15 services to be more specific. (Id. ¶¶ 134–35, 137–42.) The USPTO again declined to
16 register the mark on the basis that despite demonstrating its advertising and sales, the
17 applicant had not yet presented evidence of its distinctiveness. (Id. ¶ 144.) USA Wheel
18 and Tire Outlet #2 sent a reply asserting that the mark had become distinctive and acquired
19 secondary meaning by virtue of its extensive advertising, extensive sales, and web hits.
20 (Id. ¶¶ 145–47.) The USPTO then requested that USA Wheel and Tire Outlet #2 verify
21 that the mark had become distinctive and disclaim the exclusive right to use “WHEEL”
22 apart from the mark. (Id. ¶ 148.) USA Wheel and Tire Outlet #2 complied with these
23 requests, and registration was granted. (Id. ¶¶ 149–50, 152.) The “Discounted Wheel
24 Warehouse” trademark was published in the principal register on June 24, 2008, and
25 registered on September 9, 2008. (Id. ¶ 153.) The trademark registration for “Discounted
26 Wheel Warehouse” states the date of first use as November 1, 2003. (Id. ¶ 154.) Five
27 years later, the mark was granted incontestability on November 22, 2013. (Id. ¶ 156.)
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 1 Before its eventual dissolution, USA Wheel and Tire Outlet #2 owned the registered
 2 trademark, “Discounted Wheel Warehouse.” (Id. ¶ 165.)
 3              3.      Transfer of the Trademark to Roseville
 4         USA Wheel and Tire Outlet #2 dissolved on December 4, 2013. (Id. ¶ 164.) To
 5 take its place, The Wheel and Tire Club, Inc. was established on December 12, 2013 as
 6 USA Wheel and Tire Outlet #2’s successor-in-interest. (Id. ¶¶ 159–60.) Like its
 7 predecessor, The Wheel and Tire Club is owned by Niamat and Riley, and Niamat is the
 8 controlling shareholder and officer of the business. (Id. ¶¶ 161, 176.) Although The
 9 Wheel and Tire Club acquired some of USA Wheel and Tire Outlet #2’s business assets,
10 including all of the capital equipment necessary to operate the business of selling wheels
11 and tires, the “Discounted Wheel Warehouse” trademark was assigned to a different entity,
12 Roseville Fullerton Burton Holdings, LLC. (Id. ¶¶ 101, 166, 168.) Roseville did not pay
13 any money or other consideration for the transfer of the trademark. (Id. ¶ 167.)
14         Nevertheless, The Wheel and Tire Club operates www.discountedwheelwarehouse
15 .com and processes all orders made through that website as its predecessor had done. (Id.
16 ¶¶ 160, 169.) The Wheel and Tire Club uses the mark “Discounted Wheel Warehouse”
17 and licenses it from Roseville. (Id. ¶ 102, 175.) The Wheel and Tire Club does not have
18 any written trademark license agreement with Roseville for the mark. (Id. ¶ 176.) Rather
19 than pay royalties, The Wheel and Tire Club pays for the use of the trademark through
20 “inflated rent” on its lease with Roseville for the Fullerton premises. (Id. ¶¶ 174, 179–80.)
21 No part of The Wheel and Tire Club is owned by Roseville, and Roseville is not the parent
22 company of The Wheel and Tire Club. (Id. ¶¶ 162–63.) However, Niamat is the principal
23 and managing member of Roseville. (See id. ¶¶ 176, 258.)
24
25         C.        Procedural History
26         Roseville filed its Complaint against SoCal Wheels on December 9, 2014. (Compl.,
27 Doc. 1.) On December 18, 2015, Roseville filed a First Amended Complaint adding Icon
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 1 Internet Media, Inc., Michael Yablonka, Christophe Granger, Robert Cullen, Jason Siu,
 2 and Donny Mak as defendants. (FAC, Doc. 98.) The FAC stated the following eight
 3 claims: (1) federal trademark infringement under the Lanham Act; (2) false designation of
 4 origin and false description under the Lanham Act; (3) cyberpiracy under 15 U.S.C §
 5 1125(d); (4) trademark infringement under California law; (5) unfair competition under
 6 California law; (6) intentional interference with prospective economic advantage; (7)
 7 contributory trademark infringement; and (8) common law passing off and disparagement.
 8 (Id. ¶¶ 74–116.) The first four claims were against SoCal Wheels, Cullen, Yablonka, and
 9 Granger. (Id. ¶¶ 74–95.) The fifth and eighth claims were against SoCal Wheels alone.
10 (Id. ¶¶ 96–98, 111–16.) The sixth claim was against all Defendants. (Id. ¶¶ 99–105.) The
11 seventh claim was against all Defendants except SoCal Wheels. (Id. ¶¶ 106–10.)
12          On May 20, 2016, the Court dismissed the California trademark infringement and
13 unfair competition claims with respect to SoCal Wheels, and dismissed the intentional
14 interference claim with respect to SoCal Wheels, Granger, Yablonka, and Siu. (Dismissal
15 Order, Doc. 141.) Roseville and Cullen reached a settlement on September 6, 2016.
16 (Notice of Settlement, Doc. 187.) SoCal Wheels now moves for summary judgment on all
17 of Roseville’s claims against it. (SoCal Mot. at 1.) Granger, Yablonka, Mak, and Siu join
18 in SoCal Wheels’ Motion. (Granger & Yablonka Mot. at 1; Mak & Siu Mot. at 1.)
19 Granger, Yablonka, Mak, and Siu also move for summary judgment on claims not
20 included in SoCal Wheel’s Motion. (Granger & Yablonka Mot. at 1; Mak & Siu Mot. at
21 1.)
22
23       III.   LEGAL STANDARD
24          In deciding a motion for summary judgment, the Court must view the evidence in
25 the light most favorable to the non-moving party and draw all justifiable inferences in that
26 party’s favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Summary
27 judgment is proper “if the [moving party] shows that there is no genuine dispute as to any
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 1 material fact and the [moving party] is entitled to judgment as a matter of law.” Fed. R.
 2 Civ. P. 56. A factual issue is “genuine” when there is sufficient evidence such that a
 3 reasonable trier of fact could resolve the issue in the non-movant’s favor, and an issue is
 4 “material” when its resolution might affect the outcome of the suit under the governing
 5 law. Anderson, 477 U.S. at 248.
 6            The moving party bears the initial burden of demonstrating the absence of a genuine
 7 issue of fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “Once the moving party
 8 carries its initial burden, the adverse party ‘may not rest upon the mere allegations or
 9 denials of the adverse party’s pleading,’ but must provide affidavits or other sources of
10 evidence that ‘set forth specific facts showing that there is a genuine issue for trial.’”
11 Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir. 2001) (quoting Fed. R. Civ. P. 56(e)).
12            In deciding a motion for summary judgment, the court must view the evidence in
13 the light most favorable to the non-moving party and must resolve all ambiguities and
14 draw all reasonable inferences against the movant. See Anderson, 477 U.S. at 255.
15 However, “credibility determinations, the weighing of evidence, and the drawing of
16 legitimate inferences from the facts are jury functions, not those of a judge.” Acosta v.
17 City of Costa Mesa, 718 F.3d 800, 828 (9th Cir. 2013) (quoting Reeves v. Sanderson
18 Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)). The role of the court is not to resolve
19 disputed issues of fact but to assess whether there are any factual issues to be tried.
20
21      IV.        DISCUSSION
22            A.     Federal Trademark Infringement and False Designation of Origin and
23                   False Description
24            Section 32 of the Lanham Act prohibits the use of a registered mark in commerce
25 without the trademark owner’s consent. See 15 U.S.C. § 1114. Section 43(a) of the
26 Lanham Act prohibits the use in commerce of “any word, term, name, symbol, or device,
27 or any combination thereof, or any false designation of origin, false or misleading
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 1 description of fact, or false or misleading representation of fact” which is likely to cause
 2 confusion, cause mistake, or deceive another. See 15 U.S.C. § 1125(a). Whereas Section
 3 32 provides protection only to registered marks, Section 43(a) protects against
 4 infringement of unregistered marks and a wider array of practices in addition to
 5 infringement of registered marks. See Brookfield Commc’ns, Inc. v. West Coast Entm’t
 6 Corp., 174 F.3d 1036, 1046 n.8 (9th Cir. 1999). Despite these differences, the analysis
 7 under the two provisions is often identical. See id. To prevail on a claim of trademark
 8 infringement under the Lanham Act, a party must prove: (1) that it has a protectable
 9 ownership interest in the mark; and (2) that the defendant’s use of the mark is likely to
10 cause consumer confusion. Network Automation, Inc. v. Advanced Systems Concepts, Inc.,
11 638 F.3d 1137, 1144 (9th Cir. 2011). However, Defendants make two threshold arguments
12 in support of summary judgment: (1) Roseville’s trademark is invalid because it was
13 acquired through an improper assignment-in-gross; and (2) laches bars Roseville’s
14 trademark infringement claims. (SoCal Mem. at 4, Doc. 159-1.)
15             1.     Assignment-in-Gross
16         First, Defendants argue that there is no valid, protectable trademark because the
17 registered mark was invalidated by an improper assignment-in-gross. (SoCal Mem. at 4.)
18 Specifically, Defendants argue that Roseville’s registered trademark was invalidated when
19 it was transferred from USA Wheel and Tire Outlet #2. (Id. at 5.) Assignments of
20 trademarks in gross are traditionally invalid. E. & J. Gallo Winery v. Gallo Cattle Co., 967
21 F.2d 1280, 1289 (9th Cir. 1992). However, it is unnecessary for the entire business or its
22 tangible assets to be transferred with the trademark to make the transfer valid; a transfer of
23 goodwill is enough. Id.; 15 U.S.C. § 1060 (“A registered mark for which an application to
24 register has been filed shall be assignable with the good will of the business in which the
25 mark is used, or with that part of the good will of the business connected with the use of
26 and symbolized by the mark.”). “The purpose behind requiring that goodwill accompany
27 the assigned mark is to maintain the continuity of the product or service symbolized by the
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  1 mark and thereby avoid deceiving or confusing consumers.” Gallo Winery, 967 F.2d at
  2 1289 (citation omitted).
  3         Courts within and without the Ninth Circuit have recognized the difficulty in
  4 determining whether a transfer of goodwill has occurred in cases of trademark assignment.
  5 See, e.g., Berni v. Int’l Gourmet Restaurants of America, Inc., 838 F.2d 642, 646 (2d Cir.
  6 1988) (“Of course the question whether a mark has been severed from its goodwill may
  7 not always be an easy one.”); Money Store v. Harriscorp Finance, Inc., 689 F.2d 666, 676
  8 (7th Cir. 1982) (“It is admittedly difficult to determine when a transfer of goodwill has
  9 occurred.”); Brady v. Grendene USA, Inc., No. 3:12-cv-0604-GPC-KSC, 2015 WL
 10 3539702, at *7 (S.D. Cal. Jun. 3, 2015) (“The Court notes that the caselaw surrounding
 11 whether an assignment is an invalid assignment in gross is not a model of consistency.”).
 12 However, a common test that arises from these cases is whether the transfer “disrupt[s]
 13 continuity of the products or services associated with a given mark.” See Gallo Winery,
 14 967 F.2d at 1290; accord Defiance Button Machine Co. v. C & C Metal Products Corp.,
 15 759 F.2d 1053, 1059 (2d Cir. 1985); Visa, U.S.A., Inc. v. Birmingham Trust Nat’l Bank,
 16 696 F.2d 1371, 1376–77 (Fed. Cir. 1982); Money Store, 689 F.2d at 678; Burgess v.
 17 Gilman, 475 F. Supp. 2d 1051, 1059 (D. Nev. 2007); R & R Partners, Inc. v. Tovar, 447 F.
 18 Supp. 2d 1141, 1149 (D. Nev. 2006); Glow Industries, Inc. v. Lopez, 273 F. Supp. 2d 1095,
 19 1108 (C.D. Cal. 2003); American Sleek Craft, Inc. v. Neschler, 131 B.R. 991, 1000 (D.
 20 Ariz. 1991); see also Rest. 3d Unfair Competition § 34. Where a license-back agreement
 21 is involved, there is an additional test of whether the licensor “provide[s] for adequate
 22 control . . . over the quality of goods or services produced under the mark.” See, Gallo
 23 Winery, 967 F.2d at 1290; accord Visa, U.S.A., 696 F.2d at 1377; Glow Industries, 273 F.
 24 Supp. 2d at 1110. Whether there is continuity and whether the licensor has retained
 25 adequate control are evaluated on a case-by-case basis. See PepsiCo, Inc. v. Grapette Co.,
 26 416 F.2d 285, 289 (8th Cir. 1969); Glow Industries, 273 F. Supp. 2d at 1108; Brady, 2015
 27 WL 3539702, at *7. Although the ordinary assignment/license-back agreement involves
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  1 two parties, a Ninth Circuit panel has stated that the inquiry “should functionally be the
  2 same” where the agreement involves three parties instead of two. Parkinson v. Robanda
  3 Int’l, Inc., 641 Fed. Appx. 745, 747 (9th Cir. 2016).
  4         According to the undisputed facts, upon USA Wheel and Tire Outlet #2’s
  5 dissolution, some of its assets, including all the capital equipment necessary to operate the
  6 business of selling wheels and tires, were transferred to The Wheel and Tire Club, its
  7 successor-in-interest. (SGI ¶¶ 101, 160, 168.) The Wheel and Tire Club then continued
  8 selling wheels and tires through www.discountedwheelwarehouse.com as its predecessor
  9 had done. (Id. ¶¶ 160, 169.) However, the trademark was transferred to Roseville, and
 10 Roseville then licensed the mark to The Wheel and Tire Club. (Id. ¶¶ 102, 165–66, 175.)
 11 All of the entities involved in these transactions were created, owned, and actively
 12 managed by Niamat. (See id. ¶¶ 123, 125, 161, 176, 265.)
 13         Based on these facts, the Court concludes there was a valid assignment of the
 14 trademark. There is no indication that any disruption occurred in the provision of wheels
 15 and tires through www.discountedwheelwarehouse.com after USA Wheel and Tire Outlet
 16 #2 transferred its assets. Rather, The Wheel and Tire Club immediately continued USA
 17 Wheel and Tire Outlet #2’s business. Roseville, as the licensor, could adequately control
 18 the quality of goods and services provided by The Wheel and Tire Club because both
 19 entities were under common ownership and management. Moreover, the common
 20 ownership and management of all these entities ensured that information sufficient “to
 21 continue the lure of business” had passed along with the trademark. See Gallo Winery,
 22 957 F.2d at 1289; Parkinson, 641 Fed. Appx. at 747. Accordingly, the trademark
 23 assignment was valid and was not an improper assignment-in-gross.
 24             2.     Laches
 25         Defendants also argue that Roseville’s claims of infringement and false designation
 26 are barred by laches. (SoCal Mem. at 7.) Laches is an equitable time limitation on a
 27 party’s right to bring suit and is a valid defense to Lanham Act claims. Jarrow Formulas,
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  1 Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835 (9th Cir. 2002). The party asserting laches
  2 must show that it suffered prejudice as a result of the plaintiff’s unreasonable delay in
  3 filing suit. Id. While laches and the statute of limitations are distinct defenses, a laches
  4 determination is made with reference to the limitations period for the analogous action at
  5 law. Id. If the plaintiff filed suit within the analogous limitations period, the strong
  6 presumption is that laches is inapplicable. Id. However, if suit is filed outside of the
  7 period, it is presumed that laches is applicable. Id. at 836, 838. The presumption of laches
  8 is triggered if any part of the claimed wrongful conduct occurred beyond the limitations
  9 period. Id. at 837. The limitations period runs from the time the plaintiff knew or should
 10 have known about his claim. Id. at 838.
 11         When a federal statute lacks a specific statute of limitations, it is generally
 12 presumed that Congress intended to “borrow” the limitations period from the most closely
 13 analogous action under state law. Id. at 836. The Lanham Act contains no explicit statute
 14 of limitations. Id. In California, courts in the Ninth Circuit have split between applying a
 15 three-year period or a four-year period. See, e.g., Karl Storz Endoscopy America, Inc. v.
 16 Surgical Technologies, Inc., 285 F.3d 848, 857 (9th Cir. 2002) (applying three-year period
 17 from Section 338(d) of the Code of Civil Procedure); Jarrow, 304 F.3d at 838 (applying
 18 three-year period from Section 338(d)); Internet Specialties West, Inc. v. Milon-DiGiorgio
 19 Enterprises, Inc., 559 F.3d 985, 990 n.2 (9th Cir. 2009) (applying four-year period “from
 20 California trademark infringement law”); Fitbug Limited v. Fitbit, Inc., 78 F. Supp. 3d
 21 1180, 1188–89 (N.D. Cal. 2015) (noting that Ninth Circuit and district courts in California
 22 have “almost universally” assumed a four-year period from Sections 337 or 343 of the
 23 Code of Civil Procedure, but expressing some concern over the assumption).
 24         The Court concludes that under either a three-year or a four-year approach, the
 25 limitations period has long since run. The mark “Discounted Wheel Warehouse” was used
 26 as early as 2003 and was registered on September 9, 2008. (SGI ¶¶ 83, 153.) USA Wheel
 27 and Tire Outlet #2 was the registrant and original owner of the “Discounted Wheel
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  1 Warehouse” trademark. (Id. ¶¶ 150, 152, 165.) Niamat, who was the owner and president
  2 of USA Wheel and Tire Outlet #2 and who had a direct role in registering the trademark,
  3 was aware of Wheel Warehouse and its business since 2007. (Id. ¶¶ 150, 161, 258–59.)
  4 Moreover, Wheel Warehouse was also a customer of some of Niamat’s other tire
  5 distributor businesses since at least 2008. (Id. ¶¶ 265–68, 270.) Yet a lawsuit was not
  6 filed until late 2014. Given the similarities in trade names, the proximity in location of the
  7 two businesses, and the fact that both sell wheels and tires online, the Court concludes that
  8 Niamat and USA Wheel and Tire Outlet #2 should have known of Wheel Warehouse’s
  9 potential infringing use back in 2007 when they became aware of Wheel Warehouse’s
 10 existence. Therefore, there is a presumption that laches applies. The Court now analyzes
 11 whether (1) Roseville’s delay in filing suit was unreasonable, and (2) Defendants would
 12 suffer prejudice from the delay if the suit were to continue. See Jarrow, 304 F.3d at 838.
 13                 a.        Unreasonable Delay
 14          In determining whether the delay was unreasonable, a court must balance the
 15 following six factors: (1) the strength and value of the trademark rights asserted; (2) the
 16 plaintiff's diligence in enforcing mark; (3) the harm to the senior user if relief is denied; (4)
 17 whether there is good faith ignorance by the junior user; (5) the competition between
 18 senior and junior users; and (6) the extent of harm suffered by the junior user because of
 19 the senior user's delay. Tillamook Country Smoker, Inc. v. Tillamook County Creamery
 20 Ass’n, 465 F.3d 1102, 1108 (9th Cir. 2006).
 21                      i.      First Factor: Strength and Value of the Trademark Rights Asserted
 22          The first factor weighs in favor of Defendants. “The strength of a mark is
 23 determined by its placement on a ‘continuum of marks from “generic,” afforded no
 24 protection; through “descriptive” or “suggestive,” given moderate protection; to “arbitrary”
 25 or “fanciful” awarded maximum protection.’” Gallo Winery, 967 F.2d 1280, 1291 (9th
 26 Cir. 1992) (citation omitted). “A strong mark is inherently distinctive, for example, an
 27 arbitrary or fanciful mark.” AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 349 (9th Cir.
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  1 1979), abrogated on other grounds by Mattel, Inc. v. Walking Mountain Productions, 353
  2 F.3d 792 (9th Cir. 2003). “Descriptive or suggestive marks are relatively weak.” Grupo
  3 Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088, 1102 (9th Cir. 2004). The former
  4 specifically describes a “characteristic or ingredient of an article or service,” while the
  5 latter “suggests, rather than describes, an ingredient, quality or characteristic.”
  6 Nutri/System, Inc. v. Con-Stan Industries, Inc., 809 F.2d 601, 605 (9th Cir. 1987). Here,
  7 Roseville’s mark is descriptive or, at most, suggestive. The term “Discounted Wheel
  8 Warehouse” describes or suggests a large selection of wheels offered for sale at a discount.
  9 There is nothing arbitrary or fanciful about a wheel and tire business doing business under
 10 such a mark. Roseville’s mark is therefore relatively weak, and the first factor weighs in
 11 favor of Defendants.
 12                    ii.    Second Factor: Plaintiff’s Diligence in Enforcing the Mark
 13          The second factor also weighs in favor of Defendants. As mentioned above,
 14 Niamat was aware of Wheel Warehouse and its business even before “Discounted Wheel
 15 Warehouse” became a registered trademark. (SGI ¶¶ 153, 258–59.) Wheel Warehouse
 16 also became a customer of Niamat’s other tire distributor businesses in 2008. (Id. ¶¶ 265–
 17 68, 270.) Despite these facts and the similarities between the two businesses’ trade names
 18 and lines of business, there is no indication that Niamat, USA Wheel and Tire Outlet #2, or
 19 Roseville took steps to enforce their trademark until filing the instant suit.
 20          Roseville seeks to explain the delay by raising the doctrine of “progressive
 21 encroachment.” (SoCal Opp. at 23.) Under this doctrine, the trademark owner need not
 22 sue in the face of de minimis infringement by the junior user. Tillamook, 465 F.3d at 1110.
 23 Instead, the owner may wait until the junior user moves into direct competition, selling the
 24 same product through the same channels, and causing actual market confusion. Id.
 25 Common methods of encroachment are the junior user’s expansion of its business into
 26 different regions or into different markets. Id. However, a junior user’s growth of its
 27 existing business and the concomitant increase in its use of the mark do not constitute
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  1 progressive encroachment. Id. Roseville argues that Defendants moved into direct
  2 competition in 2013 when they began making direct online sales through their websites.
  3 (SoCal Opp. at 21.) This is no justification for delay when, as here, the junior user is a
  4 pioneer in the automotive aftermarket industry and averaged approximately $10 million
  5 per year in sales at its high-point. (See SGI ¶¶ 41, 72.) Moreover, Defendants have had a
  6 website since 1996, and customers could purchase wheels and tires by making a product
  7 selection on the website (which would then be followed by a phone conference with a
  8 salesman). (Id. ¶¶ 14, 71.) The distinction on which Roseville relies is that before 2013,
  9 customers could not complete a purchase online because Defendants’ websites did not
 10 facilitate online payments. (See SGI ¶ 16.) That distinction does not describe expansion
 11 into different regions or different markets; if anything, it simply indicates growth of
 12 Defendants’ existing business.
 13                    iii.   Third Factor: Harm to Roseville if Relief Is Denied
 14         The third factor weighs in favor of Roseville. As described above, the two marks at
 15 issue in this case are similar in sight, sound, and meaning. Both parties sell wheels and
 16 tires online and through a physical retail location in Orange County. There is a likelihood
 17 of confusion that will diminish the value of Roseville’s trademark if relief is denied.
 18                    iv.    Fourth Factor: Good Faith Ignorance by Defendants
 19         The fourth factor weighs in favor of Defendants. The “Wheel Warehouse” business
 20 and brand has existed in Orange County since 1979. (See SGI ¶¶ 1, 3–12, 51–52, 55, 57.)
 21 Wheel Warehouse registered the domain name, www.wheelwarehouse.com, and created a
 22 website at that URL in 1996. (Id. ¶¶ 13–14.) This conduct predates by several years the
 23 registration of www.discountedwheelwarehouse.com, the use of “Discounted Wheel
 24 Warehouse” as a trade name, and the registration of “Discounted Wheel Warehouse” as a
 25 trademark. (Id. ¶¶ 83, 86, 153.) It cannot be said that Defendants lack good faith in
 26 choosing to continue using a mark they have used for decades upon learning that a similar
 27 mark is being used by a competitor.
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  1                      v.       Fifth Factor: Competition between Senior and Junior Users
  2         The fifth factor weighs in favor of Roseville. Both Roseville and SoCal Wheels sell
  3 wheels and tires online and through a physical location in Orange County and have been
  4 doing so for several years. Given the high level of competition between the parties, this
  5 factor weighs against the application of laches. See Grupo Gigante, 391 F.3d at 1104.
  6                      vi.      Sixth Factor: Extent of Harm Suffered by the Junior User Because
  7                               of the Senior User's Delay
  8         Finally, the sixth factor weighs in favor of Defendants. As mentioned above, courts
  9 in the Ninth Circuit have applied either a three-year or four-year limitations period to an
 10 assertion of laches against Lanham Act claims. Here, it took Roseville six years after
 11 registering its trademark to bring its infringement suit. The passage of time works to
 12 prejudice Defendants by eroding available evidence and lulling Defendants into investing
 13 time, money, and effort into building their mark’s value in reliance on Roseville’s inaction.
 14         In light of the presumption that laches applies, and considering four of the six
 15 factors weigh in Defendants’ favor, the Court concludes that Roseville’s delay was
 16 unreasonable.
 17                 b.         Prejudice
 18         Courts have recognized two chief forms of prejudice in the laches context:
 19 evidentiary prejudice and expectations-based prejudice. Danjaq LLC v. Sony Corp., 263
 20 F.3d 942, 955 (9th Cir. 2001). Evidentiary prejudice includes such things as lost, stale, or
 21 degraded evidence, or witnesses whose memories have faded or who have died. Id.
 22 Expectations-based prejudice arises when a defendant took actions or suffered
 23 consequences that it would not have had the plaintiff promptly brought suit. Id.
 24         For evidentiary prejudice, Defendants’ Statement of Undisputed Facts states that
 25 Wheel Warehouse has thrown out the majority of its records and can produce only a
 26 fraction of the whole. (SUF ¶¶ 271–72, Doc. 159-2.) Roseville asserts that Defendants
 27 have not suffered evidentiary prejudice in light of their production of advertisements
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  1 dating back to 1979. (SoCal Opp. at 24.) Roseville points out that most of the
  2 advertisements are from 1999 or before and reasons that the lack of more recent examples
  3 is more likely the result of reduced advertising activity rather than any prejudice. (SGI ¶¶
  4 271–72.) However, just because Defendants produced what they have does not mean that
  5 they did not discard or otherwise destroy records that they would otherwise have kept had
  6 they been sued earlier. Even if Roseville were correct that the lack of more recent ads is a
  7 result of reduced advertising activity, it does not then follow that Wheel Warehouse did
  8 not have a practice of discarding or destroying other records.
  9         As for expectations-based prejudice, the Statement of Undisputed Facts states that
 10 SoCal Wheels bought Wheel Warehouse with a good faith belief that Roseville would not
 11 pose a significant problem to their business operations. (Id. ¶¶ 275–76.) “Had suit about
 12 intellectual property rights been pending at the time, SoCal would not have bought the
 13 Wheel Warehouse assets.” (Id. ¶ 276.) Roseville argues that Defendants’ prejudice relies
 14 only on the expenses of “expanding, revamping, and advertising its website.” (SoCal Opp.
 15 at 24.) “[I]f prejudice . . . could consist merely of expenditures in promoting the infringed
 16 name, then relief would have to be denied in practically every case of delay.” (Id. (quoting
 17 Internet Specialties, 559 F.3d at 991).) However, this argument fails to adequately address
 18 the fact that SoCal Wheels purchased Wheel Warehouse in 2011, (SGI ¶¶ 51–53), and that
 19 a suit for trademark infringement could have been filed as early as 2007 when Niamat first
 20 learned of Wheel Warehouse’s existence, (id. ¶¶ 258–59.) Roseville completely sidesteps
 21 the core of Defendants’ expectations-based prejudice claim, which is that SoCal Wheels
 22 would not have purchased Wheel Warehouse to begin with had a trademark suit been
 23 pending at the time. (Id. ¶¶ 275–76.) Accordingly, the Court concludes that Defendants
 24 suffered prejudice from Roseville’s delay.
 25         In light of the presumption that laches applies, and the Court’s determination that
 26 Defendants have suffered prejudice from Roseville’s unreasonable delay in bringing suit,
 27 the Court concludes that laches bars Roseville’s claims of (1) trademark infringement and
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  1 (2) false designation of origin and false description under the Lanham Act. Therefore, the
  2 Court GRANTS Defendants’ Motions as to those claims.
  3
  4         B.     Cyberpiracy
  5         The Anti-Cybersquatting Consumer Protection Act (“ACPA”) establishes civil
  6 liability for any person who, with a bad faith intent to profit from another’s distinctive or
  7 famous trademark, registers, traffics in, or uses a domain name that is identical or
  8 confusingly similar to that trademark. See 15 U.S.C. § 1125(d). To be liable under
  9 Section 1125(d), a plaintiff must prove (1) the defendant registered, trafficked in, or used a
 10 domain name; (2) the domain name is identical or confusingly similar at the time of
 11 registration to a protected mark owned by the plaintiff; and (3) the defendant acted with
 12 bad faith intent to profit from that mark. See GoPets Ltd. v. Hise, 657 F.3d 1024, 1030
 13 (9th Cir. 2011); DSPT Int’l, Inc. v. Nahum, 624 F.3d 1213, 1218–19 (9th Cir. 2010).
 14 “Similarity of the marks is tested on three levels: sight, sound, and meaning.” Sleekcraft,
 15 599 F.2d at 351. The “sight, sound, and meaning” analysis involves (1) a “subjective
 16 ‘eyeball’ test”; (2) examination of the marks’ “[p]honetic similarity”; and (3) examining
 17 the meaning of the words used in the marks. Miss World (UK) Ltd. v. Mrs. America
 18 Pageants, Inc., 856 F.2d 1445, 1451 (9th Cir. 1988), abrogated on other grounds by
 19 Eclipse Associates Ltd. v. Data General Corp., 894 F.2d 1114, 1116 n.1 (9th Cir. 1990).
 20         According to the undisputed facts, www.wheelwarehouse.com was registered and
 21 created in 1996. (SGI ¶¶ 13–14.) The name “Discounted Wheel Warehouse” was first
 22 used in 2003 and was registered as a trademark in 2008. (Id. ¶¶ 83, 153.) In order to get
 23 the trademark registered, USA Wheel and Tire Outlet #2 had to disclaim the exclusive
 24 right to use “WHEEL” apart from the mark. (Id. ¶ 148.) In 2011, Wheel Warehouse
 25 registered the domain name, www.wheelwarehouseonline.com. (Id. ¶ 16.) After SoCal
 26 Wheels purchased Wheel Warehouse, it began creating microsites to increase the number
 27 of hits to its Wheel Warehouse websites. (Id. ¶ 234.) These microsites all had domain
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  1 names with the following format: www.discount[ManufacturerBrand]wheels.com. (Id. ¶
  2 235.) Given that www.wheelwarehouse.com was registered and created at least seven
  3 years before the “Discounted Wheel Warehouse” mark was first used, and twelve years
  4 before the mark became registered, that domain name could not have been “identical or
  5 confusingly similar” to Roseville’s mark at the time of its registration. Nor could a
  6 reasonable jury conclude that Wheel Warehouse had a bad faith intent in its registration
  7 and use of www.wheelwarehouseonline.com in light of the prior existence of
  8 www.wheelwarehouse .com and the fact that only a single word, which is not part of
  9 Roseville’s trademark, was added to the domain name.
 10         As to the microsites, the Court concludes that no reasonable jury could find the
 11 domain names of those sites to be confusingly similar to Roseville’s trademark. First, the
 12 domain names are not confusingly similar to Roseville’s mark when subjected to the
 13 “eyeball” test. Although the domain names all begin with the word “discount,” none
 14 contain the word “warehouse,” and “wheel” appears at the end, rather than the middle, of
 15 the domain names. Between “discount” and “wheel” are brand names of wheel and tire
 16 companies. This is unlike the situation in Sleekcraft, where the marks were “the same
 17 except for two inconspicuous letters in the middle of the first syllable.” 599 F.2d at 351.
 18         Second, the domain names are not phonetically similar to Roseville’s mark. “Sound
 19 is also important because reputation is often conveyed word-of-mouth.” Id. When spoken
 20 or read aloud, the sounds of the domain names and Roseville’s mark are clearly
 21 distinguishable. Even though the words “discount” and “wheel” are present in the domain
 22 names, the different placement of “wheel” and the inclusion of the manufacturer brand
 23 names results in a sound that is different from the sound of “Discounted Wheel
 24 Warehouse.” This is unlike the situation in Sleekcraft, where “the two sounds can be
 25 distinguished, but the difference is only in a small part of one syllable.” Id. at 351–52.
 26         Third, the meaning of the words used in the marks, although similar when analyzed
 27 in isolation, are less similar when examined as a whole. It is true that the words “discount”
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  1 and “wheel” carry the same meaning in both Roseville’s trademark and the microsite
  2 domain names. However, “[c]omposite marks should be examined in their entirety, not
  3 piece by piece,” Rodeo Collection, Ltd. v. West Seventh, 812 F.2d 1215, 1218 (9th Cir.
  4 1987), impliedly overruled on other grounds as recognized by Perfect 10, Inc. v. Google,
  5 Inc., 653 F.3d 976, 979–81 (9th Cir. 2011). None of the microsite domain names actually
  6 contain the full term, “Discounted Wheel Warehouse.” Rather, they describe discounts as
  7 to wheels made by specific wheel manufacturers. This is different from Roseville’s
  8 trademark which describes a warehouse of wheels at, presumably, discounted prices. The
  9 Court also notes that Roseville’s predecessor specifically disclaimed the exclusive right to
 10 use the word “wheel” apart from the trademark when it obtained registration, and nowhere
 11 in the facts does Roseville show an exclusive right to use the word “discount” or a
 12 combination of the words “discount” and “wheel” apart from its registered mark.
 13          Accordingly, the Court concludes that Roseville cannot prevail on its cyberpiracy
 14 claim as a matter of law and therefore GRANTS Defendants’ Motions as to this claim.
 15
 16          C.     Contributory Trademark Infringement
 17          Liability for trademark infringement can extend beyond those who actually mislabel
 18 goods with the mark of another. Inwood Laboratories, Inc. v. Ives Laboratories, Inc., 456
 19 U.S. 844, 853 (1982). A party can be held liable for the infringing activities of another (1)
 20 if the party intentionally induces the other to infringe a trademark, or (2) if it continues to
 21 supply a product or service to one who it knows or has reason to know is engaging in
 22 trademark infringement. Id. For the second basis for liability, it is unnecessary that the
 23 party intend the provision of a product or service to contribute to any infringement. See
 24 Louis Vuitton Malletier, S.A. v. Akanoc Solutions, Inc., 658 F.3d 936, 943 (9th Cir. 2011).
 25 It is sufficient if the goods or services were provided with “actual or constructive
 26 knowledge” that the users of those goods or services were engaging in trademark
 27 infringement. Id. “[W]hen measuring and weighing a fact pattern in the contributory
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  1 infringement context without the convenient ‘product’ mold . . . [a court] consider[s] the
  2 extent of control exercised by the defendant over the third party’s means of infringement.”
  3 Lockheed Martin Corp. v. Network Solutions, Inc., 194 F.3d 980, 984 (9th Cir. 1999).
  4         Because laches bars Roseville’s trademark infringement claim, it also bars
  5 Roseville’s contributory trademark infringement claim against Defendants Granger,
  6 Yablonka, Mak, and Siu. With respect to Mak and Siu, the Court also concludes that no
  7 reasonable jury could find that they either intentionally induced SoCal Wheels to infringe
  8 any trademark or provided their services with actual or constructive knowledge of any
  9 trademark infringement by SoCal Wheels. According to the undisputed facts, SoCal
 10 Wheels retained Mak and Siu to create and maintain www.socalwheels.com and to
 11 maintain and update www.wheelwarehouse.com. (Mak & Siu SGI ¶¶ 1–2.) Mak set up
 12 Google analytics for www.wheelwarehouseonline.com, and SoCal Wheels had discussions
 13 with Siu regarding efforts to increase www.wheelwarehouse.com’s search rankings. (Id. ¶
 14 252; SGI ¶ 254.) However, Mak and Siu never had any discussions about Discounted
 15 Wheel Warehouse with SoCal Wheels. (Mak & Siu SGI ¶ 4). There is nothing in the facts
 16 that leads to a reasonable inference that either Mak or Siu was otherwise aware of
 17 Discounted Wheel Warehouse or that SoCal Wheels was infringing its trademark.
 18         Therefore, the Court GRANTS Defendants’ Motions as to Roseville’s contributory
 19 trademark infringement claim.
 20
 21         D.     Common Law Passing Off and Disparagement
 22         Roseville’s final claim is for “common law passing off and disparagement.” For
 23 this claim, Roseville relies on a California Supreme Court case that states, “[t]he common
 24 law tort of unfair competition is generally thought to be synonymous with the act of
 25 ‘passing off’ one’s goods as those of another.” Bank of the West v. Superior Court, 2 Cal.
 26 4th 1254, 1263 (1992). The California Supreme Court goes on to state that this tort
 27 developed “as an equitable remedy against the wrongful exploitation of trade names and
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  1 common law trademarks that were not otherwise entitled to legal protection.” Id. The
  2 analysis for “passing off” is often substantially similar to the analysis for trademark
  3 infringement. See Los Defensores, Inc. v. Gomez, 223 Cal. App. 4th 377, 393–94 (2014)
  4 (stating that the tort’s purpose is to “prevent unfair competition through misleading or
  5 deceptive use of a term exclusively identified with the claimant’s product . . . whenever
  6 ‘the name and the business . . . become synonymous in the public mind’”); Mattel, Inc. v.
  7 MCA Records, Inc., 28 F. Supp. 2d 1120, 1144 n.30 (C.D. Cal. 1998) (stating that state
  8 claims for unfair competition and passing off are governed by the likelihood of confusion
  9 test). But see Industrial Indem. Co. v. Apple Computer, Inc., 79 Cal. App. 4th 817, 830–31
 10 (1999) (examining the two torts by referring to English law and noting that “many factors
 11 are not relevant” to trademark infringement that are relevant in passing-off actions).
 12         Although Defendants have failed to oppose this claim in their papers, this does not
 13 automatically result in a decision in favor of Roseville. The Court still must consider
 14 whether there is “no genuine dispute as to any material fact” such that the moving party “is
 15 entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. Here, Roseville’s common
 16 law passing off and disparagement claim appears to be based on the same conduct that
 17 motivates its trademark infringement claim. (See FAC ¶¶ 112–15.) In fact, Roseville has
 18 not suggested otherwise in its Opposition papers, and it even points to its arguments
 19 relating to trademark infringement “to the extent that the elements of this claim are similar
 20 to the . . . causes of action for federal infringement and federal unfair competition.” (See
 21 Granger & Yablonka Opp. at 9.) Even if trademark infringement is a “narrower tort” than
 22 passing off and disparagement, “[i]t is irrelevant that the tort of passing off includes
 23 elements distinct from those of trademark infringement, if none of those elements was
 24 present in the circumstances of the [instant] lawsuit.” Industrial Indem., 79 Cal. App. 4th
 25 at 831. In light of the application of laches to Roseville’s trademark infringement claim,
 26 and because Roseville provides no other basis for its passing off and disparagement claim,
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  1 the Court GRANTS Defendants’ Motions as to Roseville’s common law passing off and
  2 disparagement claim.
  3
  4     V.      CONCLUSION
  5          For the reasons stated above, the Court GRANTS Defendants’ Motions for
  6 Summary Judgment.
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  9
 10 DATED: September 21, 2016
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 13                                          _________________________________
                                                  JOSEPHINE L. STATON
 14
                                             UNITED STATES DISTRICT JUDGE
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